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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION
 TOM GLEASON AND JULIE                          §
 GLEASON                                        §
                                                §          CIVIL ACTION NO. _______
 v.                                             §
                                                §
 MARKEL AMERICAN INSURANCE                      §
 COMPANY

                                   NOTICE OF REMOVAL

        TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Defendant Markel American Insurance Company files this Notice of Removal (“Notice”)

pursuant to 28 U.S.C. §1446(a) and respectfully show the Court as follows:

                               PROCEDURAL BACKGROUND

1.      On or about February 3, 2017, Plaintiffs filed Plaintiffs’ Original Petition in the matter

styled Cause No. 366-00541-2017: Tom Gleason and Julie Gleason v. Markel American

Insurance Company; In the 366th Judicial District Court of Collin County, Texas         (the “State

Action”). This is an insurance coverage lawsuit in which Plaintiffs Tom Gleason and Julie

Gleason (“Plaintiffs”) allege that Markel American Insurance Company failed to defend and

indemnify them from and against claims filed in a certain underlying lawsuit. Plaintiffs did not

make a jury demand in the State Action.

                                    BASIS FOR REMOVAL

2.      Removal is proper under 28 U.S.C. §§ 1332(a)(1), 1441(a), and 1446. There is complete

diversity of citizenship and the amount in controversy is above the required limit.

3.      In Plaintiffs’ Original Petition, Plaintiffs seek damages in the form of monetary relief in

excess of $1,000,000.00. Plaintiffs also seek exemplary damages, statutory additional damages,
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legal fees, pre- and post-judgment interest, court costs, and other relief to which Plaintiffs allege

that they are entitled.

4.        Upon information and belief, Plaintiff Tom Gleason resides in the City of McKinney and

in Collin County, Texas.

5.        Upon information and belief, Plaintiff Julie Gleason resides in the City of McKinney and

in Collin County, Texas.

6.        Defendant Markel American Insurance Company is incorporated in Virginia with its

principal place of business in Virginia.

                       THE REMOVAL IS PROCEDURALLY CORRECT

8.        Plaintiffs served Defendant Markel American Insurance Company with process through

the CT Corporation System on February 9, 2017. Accordingly, this Notice of Removal is timely.

28 U.S.C. §1446(b).

9.        Venue is proper in this district under 28 U.S.C. §1446(a) because this district and

division embrace the place in which the removed action has been pending and because a

substantial part of the events giving rise to the Plaintiffs’ claims allegedly occurred in this

district.

10.       Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings in the

State Action are attached to this Notice.

11.       Pursuant to 28 U.S.C. §1446(d), promptly after Defendants file this Notice, written notice

of the filing will be given to Plaintiffs, the adverse party.

12.       Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal will be

filed with the Clerk of Collin County, promptly after Markel American Insurance Company files

this Notice.

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13.    Pursuant to Federal Rule of Civil Procedure 81(c)(2)(C), Markel American Insurance

Company shall file its within seven (7) days after the filing of this Notice.

                                         CONCLUSION

14.    Based upon the foregoing and the other documents filed contemporaneously with this

Notice, all fully incorporated herein by reference, Defendant Markel American Insurance

Company hereby removes this case to this Court for trial and determination.

                                              Respectfully submitted,

                                              WOJCIECHOWSKI &ASSOCIATES, P.C.

                                              /S/ Marc J. Wojciechowski        .
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                                              COUNSEL FOR DEFENDANT,
                                              MARKEL AMERICAN INSURANCE
                                              COMPANY

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished to all
counsel and/or parties of record, pursuant to the Federal Rules of Civil Procedure, on this, the 6th
day of March, 2017.
                                                      /S/ Marc J. Wojciechowski                .
                                                     Marc J. Wojciechowski




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